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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


   IMPLICIT, LLC,
        Plaintiff,

   v.                                                   Civil Action No. 2:18-cv-00053-JRG
                                                                   LEAD CASE
   NETSCOUT SYSTEMS, INC.
        Defendant.
                                                           JURY TRIAL DEMANDED
   v.
                                                        Civil Action No. 2:18-cv-00054-JRG
   SANDVINE CORPORATION.                                          MEMBER CASE
       Defendant.


    PLAINTIFF IMPLICIT, LLC’S RESPONSE IN OPPOSITION TO DEFENDANTS
 SANDVINE CORPORATION AND NETSCOUT SYSTEM, INC.’S MOTIONS IN LIMINE




                       REDACTED VERSION OF DOCUMENT
                                     FILED UNDER SEAL




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         Plaintiff Implicit, LLC (“Implicit” or “Plaintiff”) hereby responds to Defendants

Sandvine Corporation (“Sandvine”) and NetScout Systems, Inc.’s (“NetScout”) Motions in

Limine: 1

I.       MIL No. 1: Implicit Can Put on Testimony About What the PTO Considered.
         Defendants’ MIL No. 1 is packaged as something that it is not. MIL No. 1 is titled,

“Preclude Implicit From Suggesting Certain Prior Art Was Submitted To and Considered by the

Patent Office When It Was Not.” Yet Defendants do not merely seek to preclude Dr. Almeroth

from testifying that the PTO considered prior art that it did not. Defendants also apparently seek

to prevent Dr. Almeroth from testifying that the PTO considered the art it actually considered.

There is no basis for such a limitation.

         Implicit has no intention of soliciting testimony that references not submitted to the PTO

were. To be clear, the Mosberger Thesis was considered by the PTO during the prosecution of

each of the three patents. See Exs. A (’683 Patent) at p. 3; B (’790 Patent) at p. 3; C (’104 Patent)

at p. 3. But this is not the only reference submitted to the PTO that Dr. Jeffay, Defendants’ expert,

is likely to address. Dr. Jeffay is also likely to address: (1) “An Extensible Protocol Architecture

for Application-Specific Networking,” by Marc Fiuczynski et al., see Ex. D (Exhibit A to Jeffay

Report) at pp. 141-160 (the “1996 ATEC USENIX Paper”); (2) “Router Plugins – A Software

Architecture for Next Generation Routers” by Dan Decasper et al., see Ex. E (Exhibit B to Jeffay

Report) at pp. 91-110 (the “Router Plugins Paper”); and (3) “Crossbow—A Toolkit for Integrated

Services over Cell Switched IPv6.” See id. (the “1997 Crossbow Paper”). Each of these were

disclosed to and considered by the PTO prior to issuance of the ’683, ’790, and ’104 Patents. See

Exs. A. at p. 2; B at pp. 2-3; and C at p. 3.



1
    Sandvine and NetScout are collectively referred to as “Defendants.”


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        To the extent that Dr. Jeffay opines that any of these references are invalidating (either

alone or in combination with other references), Implicit is entitled to put on evidence that the

references were indeed considered. Furthermore, given the number of references at issue—four—

to say that the PTO issued the Asserted Patents over “many of the same references that Dr. Jeffay

relies on to opine that the same patents are invalid” is true, not confusing, and not unduly

prejudicial. Defendants may not like that the PTO considered “many” of the references they will

put on at trial—but it is a relevant fact.

        Dr. Almeroth does not in his Report, and will not in his testimony, state that any

reference not considered by the PTO was.

II.     MIL No. 2: Implicit Should Be Free to Use Evidence Timely Produced to Prove the
        Correct Reduction to Practice.
        Implicit should be free to use evidence produced timely to prove the correct Reduction to

Practice (“RTP”) date. Implicit produced numerous documents during the course of discovery

proving that Implicit’s RTP preceded its December 1999 parent patent filing date. These

documents included numerous hard copies of code portions, technical manuals, and many

internal emails describing and documenting Implicit’s fully functional code base. These

documents were all dated prior to December 1999. Further, Implicit’s 30(b)(6) witness on RTP

likewise testified in detail about an earlier RTP date.

        There is no reason why Implicit should be precluded from using this evidence. Whether

this evidence is sufficient to prove an earlier RTP date is a question for a different day.

        To simplify matters, Implicit agrees not to cite or rely upon the code produced one day

late.

III.    MIL No. 3: Implicit May Reference the
        Settlement Agreements.



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       Defendants’ MIL No. 3 reprises their corresponding Daubert. Defendants’ main

complaint is that there “is no evidence in the Settlement Agreement or in analysis from Dr.

Ugone that isolates the value of the asserted patents.” That is incorrect. As Implicit has already

explained in responding to Defendants’ Daubert motion, both Dr. Almeroth and Dr. Ugone went

to great pains to isolate the value of the asserted patents, including by comparing the earlier

defendant’s and current defendants’ use of the patented technology. See, e.g., Dkt. No. 156 at 1-

4; Dkt. No. 177 at 1-3. Furthermore,                    had only been accused of infringing the

Demux patents at the time of settlement, so it was proper not to allocate any value to the

remainder of the patents licensed. See, e.g., Cluori v. One World Techs., Inc., CV 07-2035, 2012

WL 630246 at *5 (C.D. Cal. Feb. 27, 2012).                            were accused of infringing

additional patents when their respective cases settled, and Dr. Ugone accounted for this fact by

placing relatively less weight on those agreements. See, e.g., Dkt. No. 156 at 4. Dr. Ugone’s

reliance on Mr. Balassanian’s assertion that the value of the agreements was driven by the

asserted patents is a matter for cross examination, not exclusion. See, e.g., Realtime Data LLC v.

EchoStar Corp., 17-CV-00084, 2018 WL 6266301, at *10 (E.D. Tex. Nov. 15, 2018).

       But Dr. Ugone did not rely solely on Mr. Balassanian—for example, each of the

              Licenses contain a “Whereas” clause stating the potential impacted software

revenue at issue in the litigation. See Exs. F (                ) at 1 & G (                   ) at 1.

       This recitation of the amount at issue in the lawsuit lends credence to the notion that it is

the asserted patents in the lawsuit, and the specifics of the infringement read on the specific

accused product, that have driven negotiations in Implicit’s prior Settlement Agreements. In any

event, “[t]he degree of comparability of the                                       ] license

agreements as well as any failure on the part of [Implicit’s] expert to control for certain variables



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are factual issues best addressed by cross examination and not by exclusion.” ActiveVideo

Networks, Inc. v. Verizon Comms, Inc., 694 F.3d 1312, 1333 (Fed. Cir. 2012) (expert’s reliance

on two agreements not “improper” where one agreement “did not involve the patents-in-suit and

did not cover any of the technologies in the case” and the other “covered [patentee’s] patents and

software services yet the entire license fee was attributed to the asserted patents without any

attempt to ‘disaggregate the value . . . .’”); see also Open Text S.A. v. Box, Inc., No. 13-cv-04910,

2015 WL 393858, at *5 (N.D. Cal Jan. 2015) (“differences between the licensed patents and the

patents-in-suit can easily be pointed out to the jury, either through cross-examination . . . or

through . . . direct testimony”).

IV.     MIL No. 4: Dr. Ugone May Make Limited Reference to the Agreements He Did Not
        Find Comparable.
        It is true that Dr. Ugone did not rely on any of the

                                                                   Settlement Agreements (along with

several other settlement agreements that go unmentioned by Defendants) because he did not find

them comparable. The fact that Dr. Ugone whittled down 24 prior settlement agreements—

many of which settled litigation over patents from the Demux family—to only four speaks to his

selectivity and the rigor of his analysis. See Ex. H (Ugone NetScout Report) at ¶¶ 69-83; Ex. I

(Ugone Sandvine Report) at ¶¶ 75-89. Dr. Ugone discarded many of these other settlement

agreements either because they did not involve the Demux patents, or because the prior

defendants’ use of the patented technology was not directly comparable to NetScout’s and

Sandvine’s use of it. See, e.g., Ex. H at ¶ 79, n. 196 (                         not comparable

because many families of patents asserted against                 and Implicit’s patented technology

not critical to success of accused                      ), ¶ 80 (“agreements with entities most

economically comparable to NetScout would be most informative”).


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       Dr. Ugone ought to able to testify about how he conducted his winnowing process and

why he is relying on certain agreements and why he is not relying on certain others. In addition,

in seeking to reconstruct the hypothetical negotiation, and Implicit’s negotiating position in

particular, Dr. Ugone reviews many prior Implicit licenses to understand what kind of royalty

rate Implicit is willing to accept. See, e.g., Ex. H at ¶¶ 78-79. In doing so, Dr. Ugone evaluates

the impacted revenue and the royalty payment in each agreement to understand what kind of

rates Implicit finds acceptable in which kinds of situations. See, e.g., id. at ¶ 71. Implicit need

not necessarily introduce all of the agreements for Dr. Ugone to present this analysis, but he

should be allowed to present it.

V.     MIL No. 5: Dr. Ugone’s Royalty Base is Proper.
       Defendants MIL No. 5 is styled as an “alternative” to Defendants’ currently pending

Daubert motion, but in reality, it is just a second bite at the Daubert apple. Compare Dkt. No.

181 at 6-8 with Dkt. No. 141 at 14-15. Implicit therefore incorporates the arguments made in its

Opposition and Sur-Reply to Defendants’ Daubert motion. See Dkt. No. 156 at 13-15 and Dkt.

No. 177 at 4-5. Only two further comments are necessary.

       First, Defendants assert that “Implicit seems to agree with the underlying premise of this

MIL” and then cite Implicit’s Daubert Sur-Reply for that proposition. See Dkt. No. 181 at 8.

Defendants are incorrect. Implicit made an argument in the alternative, nothing more.

       Second, Defendants ignore that Dr. Almeroth’s Report makes clear that the updates

provided through Defendants’ maintenance contracts actually infringe. See Ex. J at ¶¶ 383

(

                        ”), 387 (same re InfiniStream), 393 (similar regarding Arbor), 396 (PTS



             ”), 404 (similar regarding PacketLogic), and 406 (NAVL).

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 VI.    MIL No. 6: Plaintiff May Make Reference to Revenues and Financial Information
        for the Accused Products and Limited Reference to Defendants’ Total Revenues.
        Defendants contradict their prior Daubert motion. Defendants previously asserted that

 Dr. Ugone had failed to conduct a proper apportionment analysis. See Dkt. No. 141 at 10-12.

 Now, Defendants agree that “Dr. Ugone has provided an apportioned royalty base” that need

 only “be segregated between accused products and . . . products and services.” Dkt. No. 181 at

 8. Aside from Defendants’ internal inconsistency, Defendants are also incorrect that overall

 revenue and profits should be excluded in this particular case. In many instances, it can be

 appropriate to exclude this sort of information. But this case is somewhat different.




                                           Id. at ¶¶ 110-112 & 121-124; Ex. H. at ¶¶ 100-102 &

 107-110. In cases like this, where


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                    . See, e.g., Personalized Media Communications, LLC v. Zynga, Inc., No.

 2:12-CV-00068-JRG-RSP, 2013 WL 5979627, at *2 (E.D. Tex. Nov. 8, 2013) (LaserDynamics

 and Uniloc not “analogous” where “the accused functionality is not a small, distinct feature but

 the entire software program”).

 VII.    MIL No. 7: Third-Party Correspondence is Relevant.
         Defendants’ Motion in Limine No. 7 is peculiar. With the exception of one third-party

 witness, David Mosberger, Defendants seek to exclude all evidence of their multitudinous

 contacts with these nominally independent third-party witnesses. For example, Dan Decasper is

 one important third-party witness. He is the author of what the Defendants characterize as a

 critical piece of prior art. Prior to being deposed in this case, Mr. Decasper worked closely with

 defense counsel to prepare them for the deposition. For example, he tracked down and produced

 an archive of old source code. He also did significant work tracking down articles, and the like.

 See Ex. K.

         More, this allegedly independent third-party witness did not complain about being

 deposed repeatedly in this and prior Implicit cases. Nor did he ask to be paid. See Ex. K. He

 volunteered all of this time in helping defense counsel. Why? On this record, an inference fairly

 arises: this supposedly independent third-party witness was hardly independent at all. Whether

 this is so is a question for the jury. But this is a matter for the trier of fact, not of exclusion.




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          Nor do Defendants explain why they carveout one third-party witness from their motion,

 David Mosberger. If this sort of pre-deposition intra-witness defense counsel communication is

 proper for Dr. Mosberger, how could it be improper for similar situated third-party witnesses?

 VIII. MIL No. 8: Defendants Cannot Have it Both Ways on “Stealing” and “Pilfering.”
          Defendants open the door to Implicit establishing that Implicit did not take its inventive

 concept from others.

          The parties agree that no party should say one party has “pilfered” or “stolen” from

 another party. Fair enough. The issue raised by the current MIL, however, is different. In

 numerous third-party depositions, Defendants directly asked the witnesses whether Edward

 Balassanian, Implicit’s founder, had taken the ideas of others and then reformulated them as

 organic and original Implicit ideas. To rebut this direct examination, Implicit counsel asked the

 witnesses the question directly: do you believe that Mr. Balassanian took, pilfered, or stole your

 ideas? The witnesses, all, very bluntly said they did not so believe.

          Defendants cannot have it both ways: on the one hand, arguing that Implicit took its ideas

 improperly from others, while on the other barring direct questions that prove this contention

 false.

 IX.      MIL No. 9: Implicit Cannot Predict Now What Portions of the Court’s Future
          Rulings May be Appropriately Shown to the Jury.
          Defendants pretend that they do not understand the issue. But, Defendants’ statement

 that “the parties do not know every ruling that the Court may make between now and the end of

 trial” is exactly Implicit’s point. See Dkt. No. 181 at 9. Defendants ask that the Court preclude

 the parties “regarding any of the Court’s prior and forthcoming rulings except for the applicable

 claim constructions.” See id. (emphasis added). But the fact that evidence or argument regards a

 Court ruling does not make it per se improper. For example, the parties agree that, as the Court


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 ordered, see Dkt. No. 111 at 36, they may refer to the actual definitions set forth in the Claims

 Construction Order before the jury. 2 As of now, Implicit has no way of knowing whether future

 rulings will contain material that is similarly appropriate for jury presentation.

        Defendants’ MIL No. 9, which asks the Court to rule now on an admittedly “unknown

 universe ahead,” Dkt. No. 181 at 9, should be denied.

 X.     MIL No. 10: Implicit’s Expert Can Rely on Declarations from Prior Actions
        Involving Defendants.
        Defendants wish to exclude various declarations from prior cases. This issue is not quite

 as portrayed, however. Here is what happened:

        Implicit’s technical expert relies on declarations from current Defendant witnesses,

 describing their products. As the kind of information that a reasonable expert would reasonably

 rely upon, “it is axiomatic” that this information is proper, even though not independently

 admitted and admittedly hearsay. United States v. Gresham, 118 F.3d 258, 266 (5th Cir. 1997);

 see Federal Rules of Evidence Rule 703; see also GWTP Investments, L.P. v. SES Americom,

 Inc., No. 3:04-CV-1383-L, 2007 WL 7630459, at *5 (N.D. Tex. Aug. 3, 2007). Implicit is not

 seeking to admit these declarations. Instead, it may elicit this information as basis evidence in its

 expert direct examination. See Williams v. Illinois, 567 U.S. 50, 77–78 (2012).

 XI.    MIL No. 11: The Reexaminations Are Not the Equivalent of the California Cases.
        Implicit agrees that the parties should be precluded from referencing findings, holdings or

 adjudications from the three California cases. See Dkt No. 185 (Pl. MIL) at 4-5. Implicit also




 2
  Implicit obviously agrees, in line with the Court’s Order, see Dkt. No. 111 at 36, that parties
 will not refer, directly or indirectly, to each other’s claim construction positions in the presence
 of the jury, and will refrain from mentioning any portion of the Court’s claim construction order,
 other than the actual definitions adopted by the Court, when in the presence of the jury.

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 agrees that the parties should be precluded from doing the same with respect to Packet

 Intelligence. 3 Implicit does not agree that it should be precluded as to the reexaminations.

         The California cases are adversarial, adjudicated proceedings. They are litigations

 presided over by an Article III judge. Reexaminations, on the other hand, are proceedings

 conducted by PTO examiners. Defendants’ MIL No. 11 is based on a false equivalency.

         Patent litigation is nothing like patent reexamination. Admitting the findings of an

 Article III judge carries the substantial risk that the jury will abdicate its responsibility, and

 simply, and improperly, adopt the findings of the prior judge. Administrative proceedings before

 agency examiners do not carry the same risk. More, prior court findings involving related, but

 different patents, and unrelated products, have little to no probative value with respect to jury

 issues. The same cannot be said for related patent reexaminations.

         The prosecution histories of patents related to the patents-in-suit are obviously relevant. 4

 And, that is what reexamination records are, part of a patent’s prosecution history. See Standard

 Oil Co. v. Am. Cyanamid Co., 774 F.2d 448, 452 (Fed. Cir. 1985) (“[T]he prosecution history …

 consists of the entire record of proceedings in the [PTO]. This includes all express

 representations made by … the applicant to the examiner to induce a patent grant, or… to reissue

 a patent”); Northpeak Wireless, LLC v. 3COM Corp., 674 Fed. App’x 982, 986 n.1 (Fed. Cir.

 2016) (“Statements made during reexamination procedures before the PTO are part of the




 3
  This agreement does not moot Implicit’s opposition to Defendants’ MIL No. 10. Defendants’
 MIL No. 10 is much broader. See above.
 4
   Indeed, the prosecution histories of patents-in-suit discuss their related patent’s reexaminations.
 See, e.g., Ex. L (Jun. 6, 2013 Preliminary Amendment from ’683 Patent’s prosecution history), p.
 8 (“Three reexaminations have been filed against cases related to the present case … In that
 proceeding, Patent Owner amended the claims to distinguish over Mosberger, resulting in a
 reexamination certificate being issued for the ’163 patent …”).

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 prosecution history”); DataTreasury Corp. v. Wells Fargo & Co., No. 2:06-V-72 DF, 2010 WL

 11538713, at *24 (E.D. Tex. Feb. 26, 2010) (in denying an in limine to preclude reference to

 reexamination as a process that strengthened the patent-in-suit, the court characterized the

 reexamination record as “prosecution history”). Defendants’ own technical expert characterized

 the ’163 and ’857 Patents’ reexaminations as exactly that. See Ex. M, p. 61-88 (discussing the

 reexaminations in a section titled “Overview of the Relevant Prosecution Histories”); see also

 id., “Material Considered” (listing the ’163 “ex parte Reexamination File History,” ’163 “inter

 partes Reexamination File History,” and ’857 “inter partes Reexamination File History,” under

 “Asserted and Related Patents and File Histories”).

        Further, it is not clear what “findings, holdings, or adjudications” means in the context of

 reexaminations. Unlike litigation, reexamination involves a back-and-forth between at least the

 applicant and the examiner. This is true of inter partes examinations and it is especially true of

 ex parte examinations. If Defendants propose admitting applicant remarks, but precluding office

 actions, their proposal is designed to unfairly handicap Implicit. Cf. Ex. N (Pl. Rebuttal Validity

 Rpt.), ¶ 75 (“Dr. Jeffay’s ‘Overview of the Relevant Prosecution Histories’ … is incomplete,

 and—in some instances—misleading”). The actions are needed to put the remarks in context.

 Indeed, Defendants’ own expert was unable to discuss remarks without referring to actions. 5

 See, e.g., Ex. M, ¶ 161 (“In response to an Office Action … rejecting the original claims of the

 ’163 Patent as anticipated by Mosberger Dissertation”) & ¶ 171.

        In short, the California cases are not the same as the reexaminations. It is necessary to

 exclude the former, and fair to permit reference to the latter.


 5
   He also referenced the outcome of the ’163 ex parte reexamination. See Ex. M, ¶ 169
 (“Following the amendment and remarks, the amended claims were allowed and a Reexam
 Certificate issued …”)

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 XII.    MIL No. 12: Implicit May Solicit Testimony and Put on Evidence of the Sales of
         Arbor and GeoProbe Products Prior to July 2015.
         Defendants’ twelfth motion in limine seeks the same relief first requested in a footnote in

 Defendants’ Reply in support of their Daubert motion. See Dkt. No. 166 at 4, n 3. They were

 right then: this is a Daubert issue—though one Defendants failed to timely raise.

         Furthermore, Defendants’ damages expert agrees that all sales of the Arbor and Geoprobe

 products were properly included in the royalty base. Ex. O (Stuckwisch NetScout Report) at ¶

 13; Ex. P (Stuckwisch Tr.) at 46:12-47:12 & 48:14-17.

         Finally, Defendants mischaracterized the facts when they assert that Implicit affirmed the

 “logic” of their argument. The Sandvine situation, which Defendants point to, was quite

 different. There, the present defendant (Sandvine) was, as explained by Defendants, acquired by

 an affiliate of Procera in September 2017. See Dkt. No. 140 at 2. Sandvine argued that it cannot

 be liable for sales of Procera products before the acquisition because Sandvine (the Defendant)

 did not acquire Procera. The parties so stipulated for the purposes of this case. See Dkt. No. 172

 at 1.

         In contrast, NetScout—the defendant here—bought the business unit marketing and

 selling the Arbor and Geoprobe products in 2015. See, e.g., Dkt. No. 141



                                              . When NetScout bought those products, it inherited

 liability for those products’ infringement of Implicit’s patents.

         Furthermore, it is not just sale, but also use of the infringing GeoProbe and Arbor

 products that can give rise to liability for infringement. And the actions of repair, maintenance,

 and instruction have been included among the list of affirmative acts which may lead to liability

 for inducement. Indeed, Implicit argues that NetScout provides maintenance to GeoProbe


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 customers, including updates and that

                                                                    ” Ex. J (Almeroth Infringement

 Report), ¶ 383. Similarly, Implicit argues that NetScout’s maintenance and support packages for

 Arbor also qualify as infringing use. Id. at ¶ 393. Accordingly, it is proper for Dr. Ugone to

 include sales of Arbor and GeoProbe units in the royalty base. See, e.g., Metaswitch Networks,

 Ltd. v. Genband US LLC, No. 2:14-cv-744-JRG-RSP, 2016 WL 874737, at *4 (E.D. Tex. Mar. 5,

 2016).

          NetScout offers no legal argument that would excuse it from this obligation and

 NetScout’s Motion in Limine No. 12 amounts to nothing more than an attempt to deprive

 Implicit from the damages that it is due.

 XIII. MIL No. 13: Whatever “Venue” Evidence is, it is Intertwined with Relevant
       Evidence.
          It is unclear what Sandvine’s MIL is intended to exclude. What is “testimony / evidence

 relating to venue?” Sandvine’s motion to dismiss related to personal jurisdiction not venue. See

 Dkt Nos. 18, 39, 50, 54 & 73. It also related to Implicit’s live contention that Sandvine is liable

 under the doctrines of alter ego and single business enterprise for its affiliate’s (Procera) sales

 from September 2017 forward. See id.; see also Dkt. No. 168, ¶ 2; also compare Dkt. No. 82, ¶

 43-44 (complaint alleging vicarious liability) with Dkt. No. 87, ¶ 43-44 (answer denying

 vicarious liability). Implicit’s opposition brief attaches exhibits and cites websites that go to this

 issue. See Dkt Nos. 39 at 4-5 & 39-1 to 39-9.

          These vicarious liability arguments are intertwined with the personal jurisdiction

 arguments. Compare Dkt. No. 39 at 5 (“Sandvine and Procera are a ‘combined company’ …

 Thus, Implicit has made a prima facie case that NAVL subjects Sandvine to this Court’s specific

 personal jurisdiction”) with id. at 6 (“As set forth above, Sandvine and Procera are a ‘combined


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 company,’ suggesting two business enterprises acting as one …”). As are Implicit’s

 infringement contentions more generally. See, e.g., id. at 2 (“By Sandvine’s own admission, the

 Sandvine Policy Engine—which is identified in Implicit’s First Amdned Complaint—‘was

 developed and is sold by Sandvine Corporation in the United States’”) (emphasis added); Dkt

 No. 18 at 2, n. 1 (“[S]pecific personal jurisdiction likely exists against Sandvine Corporation [a

 Canadian corporation] as to those products i[t] actually sells in the United States and this District

 specifically”); Dkt. No. 54 at 3 (“Sandvine’s website suggests that Sandvine makes or uses the

 NAVL—which also subjects Sandvine to liability”).

        The fact that Sandvine does not contest venue, does not change the fact that (1) related

 evidence is highly relevant to other issues, and (2) this relevancy is not substantially outweighed

 by any prejudice to Sandvine. Cf. Hilderbrand v. Levi Strauss & Co., No. 3:09cv243-DPJ-FKB,

 2011 WL 2946717, at *2-3 (S.D. Miss. Jul 21, 2011) (denying motion in limine to preclude

 plaintiff’s use of defendant’s motion to transfer venue, finding that “[a]lthough [defendant] is

 certainly free to explain what it means, [plaintiff’s] interpretation of the Motion to Transfer

 Venue is plausible, and the probative value of the evidence is not substantially outweighed by the

 risk of unfair prejudice or confusion”). 6

 XIV. Conclusion.




 6
  Sandvine does not seem to have a particular piece of evidence in mind when it references
 “venue.” Sandvine initially proposed that Implicit be precluded from “putting on testimony /
 evidence relating to venue, including declarations made in support of Sandvine’s motion to
 dismiss.” See Atkinson Dec., ¶ 2. Sandvine submitted just one declaration in support of its
 motion. Implicit thus assumed this declaration was Sandvine’s focus and offered to agree to “not
 offer or otherwise use the Sandvine declaration at ECF 18-2 as part of a direct examination
 during its opening case”, but “reserve[d] the right to offer or otherwise use the declarations …
 within the scope of any appropriate cross-examination or rebuttal, or to impeach.” See id.
 Sandvine declined Implicit’s offer.

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        For the reasons set forth above, Implicit respectfully requests that this Court deny

 Defendants’ motions in limine.

 Dated October 30, 2019                            Respectfully submitted,

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                                  CERTIFICATE OF SERVICE
        The undersigned certifies that the foregoing document was filed electronically in

 compliance with Local Rule CV-5(a). As such, this motion was served on all counsel who have

 consented to electronic service, Local Rule CV-5(a)(3), on this the 30th day of October, 2019.

 Because the foregoing document is filed under seal, counsel for Plaintiff Implicit, LLC also

 certifies that an unredacted copy of the foregoing document was served on counsel for Defendants

 NetScout Systems, Inc. and Sandvine Corporation via email.

                                                     /s/ Spencer Hosie
                                                     Spencer Hosie




              CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

        The undersigned hereby certifies that the foregoing document is authorized to be filed

 under seal pursuant to the Protective Order entered in this case (Dkt. 61).

                                                         /s/ Spencer Hosie
                                                         Spencer Hosie




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